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                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISON



EQUAL EMPLOYMENT                           )
OPPORTUNITY COMMISSION,                    )     CASE NO.
                                           )
                   Plaintiff,              )
                                           )
v.                                         )     COMPLAINT
                                           )     AND JURY DEMAND
KONOS, INC.,                               )
                                           )
                   Defendant.              )


                         NATURE OF THE ACTION

        This is an action under Title VII of the Civil Rights Act of 1964

and Title I of the Civil Rights Act of 1991 to correct unlawful

employment practices on the basis of sex and to provide appropriate

relief to Charging Party, Jane Doe.1 As alleged with greater

particularity in paragraphs 10-12 below, the Equal Employment

Opportunity Commission alleges that Defendant, Konos Inc. violated

Title VII by subjecting Charging Party to a hostile work environment


1 Given the public interest in protecting the identities of sexual-assault
victims, the Commission is using a pseudonym to protect the Charging
Party.
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based on her sex. The Commission further alleges that Defendant

retaliated against Charging Party for objecting to and complaining

about the sexually hostile work environment by sending her home after

she complained of the sexual harassment.

                     JURISDICTION AND VENUE

     1. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§

451, 1331, 1337, 1343, and 1345. This action is authorized and

instituted pursuant to Section 706(f)(1) and (3) of Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C.§ 2000e-5(f)(1) and (3) (“Title

VII”) and pursuant to Section 102 of the Civil Rights Act of 1991,

42 U.S.C. § 1981a.

     2. The employment practices alleged to be unlawful were

committed within the jurisdiction of the United States District Court

for the Western District of Michigan.

                                 PARTIES

     3. Plaintiff, the Equal Employment Opportunity Commission

 (the “Commission”), is the agency of the United States of America

charged with the administration, interpretation, and enforcement of




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Title VII and is expressly authorized to bring this action by Sections

706(f)(1) and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1).

       4. At all relevant times, Defendant, Konos, Inc. (“the

Employer”), has continuously been doing business in the State of

Michigan and the City of Martin and has continuously had at least 15

employees.

       5. At all relevant times, Defendant Employer has continuously

been an employer engaged in an industry affecting commerce under

Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e(b), (g) and

(h).

                        ADMINISTRATIVE PROCEDURES

       6. More than thirty days prior to the institution of this lawsuit,

Jane Doe filed a charge with the Commission alleging violations of

Title VII by Defendant Employer.

       7. On or about April 27, 2020, the Commission issued to

Defendant Employer a Letter of Determination finding reasonable

cause to believe that Title VII was violated and inviting Defendant to

join with the Commission in informal methods of conciliation to




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endeavor to eliminate the unlawful employment practices and provide

appropriate relief.

     8. On June 25, 2020, the Commission issued to Defendant

Employer a Notice of Failure of Conciliation advising Defendant that

the Commission was unable to secure from Defendant a conciliation

agreement acceptable to the Commission.

     9. All conditions precedent to the institution of this lawsuit

have been fulfilled.

                       STATEMENT OF CLAIMS

     10.   Since approximately April 2017, Defendant Employer

has engaged in unlawful employment practices at its Martin, Michigan,

facility in violation of Section 703(a)(1) and Section 704 of Title VII,

42 U.S.C. §§ 2000e-2; 2000e-3(a) by subjecting Jane Doe to a sexually

hostile work environment and retaliating against her for complaining.

           a. Doe first started working for Defendant on or about April

              12, 2017, as an egg inspector at its facility in Martin,

              Michigan.

           b. Shortly after Doe’s employment started, Selvin Castillo-

              Vasquez, a supervisor, began sexually harassing her. He


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            would send her text messages soliciting an intimate

            relationship with him. Doe rejected his advances.

          c. Thereafter, Castillo-Vasquez sexually assaulted her on

            three separate occasions. The sexual assaults included

            forced kissing, groping, and digital vaginal penetration.

          d. Doe reported Castillo-Vasquez to the police and also

            obtained a personal protection order against him. He was

            prosecuted and ultimately pled no contest to 4th degree

            criminal sexual conduct.

          e. Doe also complained to Konos.

          f. In retaliation for Doe’s complaints about sexual

            harassment, Konos sent Doe home. Doe never returned to

            work.

   11.    The unlawful employment practices complained of in

paragraph 10 were intentional.

    12.   The unlawful employment practices complained of in

paragraph 10 above were done with reckless indifference to the

federally protected rights of Doe.




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                         PRAYER FOR RELIEF

Wherefore, the Commission respectfully requests that this Court:

  A. Grant a permanent injunction enjoining Defendant Employer, its

     officers, agents, servants, employees, attorneys, and all persons in

     active concert or participation with them, from engaging in any

     employment practice that discriminates on the basis of sex,

     including the creation of a sexually hostile work environment.

  B. Grant a permanent injunction enjoining Defendant Employer, its

     officers, agents, servants, employees, attorneys, and all persons in

     active concert or participation with them, from retaliating against

     any individual for asserting his or her rights under federal law or

     otherwise engaging in protected activity.

  C. Order Defendant Employer to institute and carry out policies,

     practices, and programs which provide equal employment

     opportunities for women and those who oppose employment

     practices made unlawful by Title VII, and which eradicate the

     effects of its past and present unlawful employment practices.

  D. Order Defendant Employer to make Charging Party whole, by

     providing compensation for past and future pecuniary losses


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     resulting from the unlawful employment practices described

     above.

  E. Order Defendant Employer to make Charging Party whole by

     providing compensation for past and future nonpecuniary losses

     resulting from the unlawful practices, including emotional pain,

     suffering, loss of enjoyment of life, and humiliation, in amounts to

     be determined at trial.

  F. Order Defendant Employer to pay Charging Party punitive

     damages for the malicious and reckless conduct described above,

     in amounts to be determined at trial.

  G. Grant such further relief as the Court deems necessary and proper

     in the public interest.

  H. Award the Commission its costs of this action.

                           JURY TRIAL DEMAND

     The Commission requests a jury trial on all questions of fact

raised by its complaint.

                                  EQUAL EMPLOYMENT
                                  OPPORTUNITY COMMISSION

                                  SHARON FAST GUSTAFSON
                                  General Counsel


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